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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-81257-CV-MIDDLEBROOKS/Reid

LYNROY ANTHONY GAYLE,

       Plaintiff,

v.

UNITED STATES OF AMERICA,

      Defendants.
_________________________________________/

                     ORDER ADOPTING REPORT AND RECOMMENDATION

       THIS CAUSE comes before the Court on Magistrate Judge Lisette M. Reid’s Report and

Recommendation (“Report”), filed October 2, 2020. (DE 5). The Report recommends dismissal of pro se

Movant Lynroy Anthony Gayle’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C.

§ 2255 (DE 1) on jurisdictional grounds as an unauthorized successive petition. (DE 5 at 4–5). Due to the

lack of subject matter jurisdiction, the Report further recommends that the Court not issue a certificate of

appealability. (Id. at 5). The deadline to file objections has expired, and Movant has filed none.

       After a careful review of Judge Reid’s Report and the record as a whole in this case, I agree with

the Report’s recommendations. Accordingly, it is hereby

       ORDERED AND ADJUDGED that:

       (1) Magistrate Judge Reid’s Report (DE 5) is ADOPTED.

       (2) Lynroy Anthony Gayle’s pro se Motion to Vacate, Set Aside, or Correct Sentence pursuant to

           28 U.S.C. § 2255 is DISMISSED.

       (3) No certificate of appealability shall issue for want of subject matter jurisdiction over the

           Motion.
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    (4) The Clerk of Court is DIRECTED to CLOSE THIS CASE and DENY all pending Motions

       as MOOT.

    SIGNED in Chambers in West Palm Beach, Florida, this 29th day of December, 2020.




                                                    Donald M. Middlebrooks
                                                    United States District Judge




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